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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                 1:21-cv-5337-SCJ
              Alpha Phi Alpha Fraternity, Inc. et al v. Brad Raffensperger
                                  1:21-cv-5339-SCJ
                Coakley Pendergrass et al v. Brad Raffensperger, et al
                                  1:22-cv-00122-SCJ
                  Annie Lois Grant et al v. Brad Raffensperger et al
                               Honorable Steve C. Jones



                    Minute Sheet for proceedings held 09/05/2023.

TIME COURT COMMENCED: 9:00 A.M.
TIME COURT CONCLUDED: 5:30 P.M.
TIME IN COURT: 7:30                            COURT REPORTER: V. Zborowski &
                                                                P. Coudriet
OFFICE LOCATION: Atlanta                       DEPUTY CLERK: Pamela Wright



ATTORNEYS PRESENT:              BRYAN TYSON, BRYAN JACOUTOT, DIANNE
                                LAROSS, DANIEL WEIGEL, and DONALD BOYLE
                                representing Defendants

                                SOPHIA LIN LAKIN,ARI J. SAVITZKY, ALEX W.
                                MILLER, RAHUL GARABADU, ED WILLIAMS,
                                DENISE TSAI, CAITLIN F. MAY,KELSEY MILLER,
                                MING CHEUNG, GEORGE VARGHESE, JUAN RUIZ
                                TORO, ANUJ DIXIT, JOSPEH ZABEL, MARISA
                                DIGIUSEPPE, JOYCE GIST LEWIS, MAKEBA
                                RUTAHINDURWA, and ABHA KHANNA representing
                                Plaintiffs

PROCEEDING CATEGORY:            Bench Trial Began
                                The Rule of Sequestration was invoked.
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MOTIONS RULED ON:           Plaintiffs’ [298] Unopposed Motion to Amend Witness and
                            Exhibit Lists GRANTED by verbal order of the Court in
                            1:21-cv-5337-SCJ

MINUTE TEXT:                Bench trial began. Opening statements heard. Plaintiffs'
                            case began. Alpha Plaintiffs' (1:21-cv-5337-SCJ) witness
                            William Cooper sworn and testified as expert. Alpha
                            exhibits 1, 327, 53, 54, 325 admitted. Joint Exhibits 1 and 2
                            admitted.

HEARING STATUS:             Trial not concluded. Court adjourned and will reconvene at
                            9:30 AM on 9/06/2023.
EXHIBIT STATUS:             Exhibits retained by the Court to be forwarded to the
                            Clerks Office.
